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ABSTRACT OF JUDGMENT
Case Name: United States of America v. Southern Coal Corp., et. al.

Case No: 7:16-CV-00462

Name(s) of Parties against whom | Name(s) of Parties in whose favor Judgment(s)

Judgment(s) have been obtained | have been obtained

Southern Coal Corporation United States of America

Justice Coal of Alabama, LLC State of Alabama

Alabama Department of Environmental Management

Commonwealth of Kentucky, Energy and Environmental
Cabinet

State of Tennessee

Commonwealth of Virginia

Amount of Judgment(s) | Name and Address of Attorney Entry Date of
Judgment(s)

$1,285,500 United States Attorney’s Office 12/7/21
Attn: Financial Litigation Unit
Western District of Virginia
Post Office Box 1709
Roanoke, VA 24008-1709
Telephone: 540-857-2259

I CERTIFY that the foregoing is a correct Abstract of Judgment.

Clerk’s Office
United States District Court for the
Western District of Virginia

Date: ola,Lee 2

Laura A. Austin, Clerk of Court

